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                     ORAL ARGUMENT NOT YET SCHEDULED
                             No. 22-1217, 22-1218


       In the United States Court of Appeals
        for the District of Columbia Circuit
                                  __________

                                SIERRA CLUB,
                                  PETITIONER,

                                          V.

                      U.S. DEPARTMENT OF ENERGY,
                               RESPONDENT.
                               __________

     GOLDEN PASS LNG TERMINAL LLC AND MAGNOLIA LNG, LLC,
                   INTERVENORS FOR RESPONDENT.

                   ON PETITION FOR REVIEW OF ORDERS OF THE
                    UNITED STATES DEPARTMENT OF ENERGY
                                  __________

            FINAL BRIEF OF INTERVENOR–RESPONDENT
                GOLDEN PASS LNG TERMINAL LLC
                            __________

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      CERTIFICATE OF PARTIES, RULINGS, AND RELATED CASES

(A)    Parties and Amici

       The parties are Sierra Club (Petitioner), the United States Department of

Energy (Respondent), and the Intervenors—Magnolia LNG, LLC, the real party in

interest to the underlying administrative proceeding in case 22-1217, and Golden

Pass LNG Terminal LLC, the real party in interest to the underlying administrative

proceeding in case 22-1218. There are no amici.

       Golden Pass LNG Terminal LLC is a joint-venture LNG-export company

with no parent company. An affiliate of QatarEnergy owns a 70% interest. An

affiliate of ExxonMobil owns a 30% interest.

(B)   Rulings Under Review

       In case 22-1217, two orders are under review:

          1. Order Amending Long-Term Authorization to Export Liquefied

             Natural Gas to Non-Free Trade Agreement Nations, Magnolia LNG

             LLC, DOE/FE Order No. 3909-C, FE Docket No. 13-132-LNG (April

             27, 2022). MR0172 [JA075].

          2. Order Denying Request for Rehearing, Magnolia LNG LLC, DOE/FE

             Order No. 3909-D, FE Docket No. 13-132-LNG (June 24, 2022).

             MR0197 [JA156].

       In case 22-1218, two orders are under review:



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        1. Order Amending Long-Term Authorization to Export Liquefied

           Natural Gas to Non-Free Trade Agreement Nations, Golden Pass LNG

           Terminal LLC, DOE/FE Order No. 3978-E, FE Docket No. 12-156-

           LNG (April 27, 2022). GR0141 [JA001].

        2. Order Denying Request for Rehearing, Golden Pass LNG Terminal

           LLC, DOE/FE Order No. 3978-F, FE Docket No. 12-156-LNG (June

           24, 2022). GR0172 [JA065].

(C)   Related Cases

      Golden Pass LNG Terminal LLC is unaware of any related cases.




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              STATEMENT REGARDING ORAL ARGUMENT

      Golden Pass LNG Terminal LLC requests oral argument, which will help

resolve this appeal.




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                     GLOSSARY OF ABBREVIATIONS

      DOE        Department of Energy

      DOE/FE     Department of Energy Office of Fossil Energy and Carbon
                 Management

      EA         Environmental Assessment

      E.O.       Executive Order

      FEIS       Final Environmental Impact Statement

      FERC       Federal Energy Regulatory Commission

      FTA        Free Trade Agreement

      LNG        Liquefied Natural Gas

      NGA        Natural Gas Act

      NEPA       National Environmental Policy Act

      Non-FTA    Non-Free Trade Agreement




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                                INTRODUCTION

      The Department of Energy orders at issue in this case are narrow. They

marginally increase the volume of natural gas that two liquefied natural gas terminals

may export directly to non-free-trade-agreement countries. Under current DOE and

FERC authorizations, Golden Pass LNG Terminal LLC (“Golden Pass”) can already

export its full terminal capacity to free-trade-agreement countries. The only issue

now is the markets where this additional volume can go—not whether it can go at

all. This decision has no environmental impact. Sierra Club has no standing.

      But even if it did, and even if DOE erred procedurally when rejecting Sierra

Club’s rehearing request, remand for further administrative proceedings would be

unnecessary and unfair. This Court should resolve the merits. Golden Pass dutifully

submitted its application and timely made its record over the years. That record

confirms this Court should deny Sierra Club’s petition, in full. Golden Pass should

not face the delay and expense of further DOE proceedings—particularly because

DOE would commit legal error by reconsidering Golden Pass’s authorization for the

reasons Sierra Club now asserts.

      For Sierra Club’s petition is based on DOE’s alleged failure to consider

environmental impacts that lie outside DOE’s statutory authority. The greenhouse

gas emissions that Sierra Club complains about are within the jurisdiction of other

federal agencies or foreign sovereigns. Congress delegated to DOE only narrow



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discretion in the Natural Gas Act (“NGA”), concerning a narrow segment of the

natural gas supply chain. DOE is merely examining if it is not in the public interest

for non-additive natural gas to also be exported directly to non-FTA countries.

Consequently, the NEPA analysis for LNG exports is likewise narrow. Indeed, in

promulgating by rule Categorical Exclusion B5.7, DOE enshrined its regulatory

interpretation of the NGA confirming that upstream, downstream, and cumulative

greenhouse gas emissions are beyond DOE’s statutory authority.

      Yet Sierra Club complains that DOE erred by insufficiently looking at

greenhouse gas emissions that the NGA gives DOE no authority to regulate. DOE’s

regulatory authority is limited. It concerns where natural gas may be exported, not

whether. DOE has long properly focused its public interest analysis on economic

factors.   It would have been legal error for DOE to deny Golden Pass’s

authorization—or, once DOE granted that authorization on the legally relevant

factors, to delay for rehearing—based on the environmental concerns that Sierra

Club asserts.

      The record before this Court is sufficient to dispose of Sierra Club’s petition

in full. Sierra Club’s concerns are beyond the statutory authority of DOE. They are

irrelevant to both DOE’s “public interest” analysis and any NEPA analysis. The

Petition should be denied in full, without remand.




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                           STATEMENT OF ISSUES

1.    Whether Section 3(a) of the NGA grants DOE the statutory authority to

      consider upstream, downstream, and cumulative greenhouse gas emissions as

      “an important aspect of the problem” when determining whether a request to

      authorize LNG export to a non-FTA country would not be consistent with the

      public interest.

2.    Whether, in light of DOE’s declared limits on its statutory authority under

      Section 3(a), it was arbitrary and capricious for DOE to evaluate upstream,

      downstream, or cumulative greenhouse gas emissions—occurring outside of

      the jurisdiction of DOE to regulate—under NEPA when considering LNG

      export authorizations to a non-FTA country.

3.    Whether the Court should remand DOE’s fully supported authorization for

      further proceedings simply because DOE—harmlessly—did not specifically

      address the substance of Sierra Club’s previously rejected arguments.

                  PERTINENT STATUTORY PROVISIONS

      See Appendix A.

                          STATEMENT OF THE CASE

      Golden Pass is constructing a liquefied natural gas (“LNG”) export terminal

in Sabine Pass, Texas. Years ago, Golden Pass received authorization from FERC

to construct the terminal. DOE authorized export of a set quantity of LNG to non-



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Free Trade Agreement (“non-FTA”) countries. Golden Pass later received FERC

authorization to expand the capacity of its Sabine Pass facility. These earlier agency

actions are not contested here.

      This case relates to Golden Pass’s subsequent application for DOE

authorization to marginally increase the quantity of LNG exports allowed from the

Sabine Pass facility to non-FTA countries. Congress requires DOE to authorize

export of LNG to FTA countries.

      After receiving no adverse comments, protests, or intervention requests, DOE

granted the increased non-FTA export authorization as unopposed. Sierra Club then

emerged late.     It filed a request for rehearing, challenging the increased

authorization. Sierra Club argued that DOE insufficiently considered upstream and

downstream climate impacts that might result from increased exports. DOE rejected

Sierra Club’s request because the group waited until after DOE completed its review

and authorization to raise its objections. DOE did not, however, respond to the

merits of Sierra Club’s rehearing issues. Sierra Club petitioned for review.

      A.     DOE has confirmed its limited authority to determine that non-
             additive exports of LNG to non-FTA countries would not be
             consistent with the public interest.

      DOE administers Section 3(a) of the NGA, which governs import/export

authorizations. 15 U.S.C. § 717b(a). The Federal Energy Regulatory Commission

separately administers Section 3(e), governing terminal siting, construction,



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expansion, and operation. Id. § 717b(e). Because these agencies often evaluate

different aspects of the same enterprise, they coordinate in conducting

environmental reviews. Thus, both FERC and DOE played a role in the reviews and

authorizations necessary for Golden Pass to construct, operate, and export from its

facility.

       In “authorizing exports of domestically produced natural gas to foreign

countries [that do not have free trade agreements with the United States],” DOE

conducts environmental reviews according to the National Environmental Policy

Act of 1969 (“NEPA”). National Environmental Policy Implementing Procedures,

85 Fed. Reg. 78,197, at 78,197 (Dec. 4, 2020) (citing 42 U.S.C. § 4332(C)). NEPA

regulations require DOE to “consider[] effects that are reasonably foreseeable and

have a sufficiently close causal connection to the granting of the export

authorization.” Id. (citing 40 C.F.R. § 1508.1(g); Dep’t of Transp. v. Pub. Citizen,

541 U.S. 752 (2004); Sierra Club v. FERC, 827 F.3d 36 (D.C. Cir. 2016) (“Freeport

I”)). The extent of DOE’s NEPA obligation, therefore, depends on the extent of its

authority to approve exports under the NGA. Id.

       DOE has no authority under NGA Section 3(e) to approve construction of

LNG facilities. FERC administers that subsection. See id.; see also 15 U.S.C.

§ 717b(e). Moreover, Section 3(c) mandates that DOE authorize all LNG imports,

as well as all exports to countries with which the United States has a free trade



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agreement (“FTA countries”). 85 Fed. Reg. at 78,197 (citing 15 U.S.C. § 717b(c)).

Thus, Section 3(a) narrowly grants DOE limited authority regarding whether to

export LNG to non-FTA countries. Id. at 78,199. As DOE explains, such non-

additive authorizations “do not increase the total volume of LNG the Companies

may export, but only increase the number of countries to which exports are

authorized.” Gov. Br. 23.

      Consistent with DOE’s non-FTA export approvals concerning the markets

where LNG may go, not whether it goes, DOE’s analyses long focused on economic

criteria, not environmental factors unaffected by the authorization. Those include:

            the domestic need for the [gas]; whether the proposed
            exports pose a threat to the security of domestic natural
            gas supplies; and any other issue determined to be
            appropriate, including whether the arrangement is
            consistent with DOE’s policy of promoting competition in
            the marketplace by allowing commercial parties to freely
            negotiate their own trade arrangements.

GR0013 at 29 [JA168] (Sabine Pass, Order No. 2961). DOE “applies the principles

described in the Secretary’s natural gas import policy guidelines[,] which presume

the normal functioning of the competitive market will benefit the public.” Phillips

Alaska, Order No. 1473, at 42 (citation omitted). DOE thus examines whether the

proposed exports will be conducted on a market-responsive, competitive basis. 49




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Fed. Reg. 6684-01 (Feb. 22, 1984) (hereinafter the “Policy Guidelines”).1 DOE’s

export policies were “designed to establish natural gas trade on a market-competitive

basis and to provide immediate as well as long-term benefits to the American

economy from this trade.” Policy Guidelines, at 6684.

      As part of its NEPA obligation, DOE has adopted various “categorical

exclusions” by regulation.     85 Fed. Reg. at 78,197–98; see also 10 C.F.R.

§ 1021.410; 40 C.F.R. §§ 1500.1, 1500.4(a), 1501.4. DOE can apply these to

exclude categories of agency actions from project-specific NEPA review absent

“extraordinary circumstances.”      85 Fed. Reg. at 78,199 (citing 40 C.F.R.

§ 1501.4(b)). One such categorical exclusion includes the “marine transport effects”

of shipping LNG. 10 C.F.R. Pt. 1021, Subpt. D., App. B, B5.7. DOE modified this

exclusion B5.7, effective January 4, 2021. 85 Fed. Reg. at 78,197. DOE examined

studies of the environmental effects of marine transport of LNG and consulted “prior

NEPA reviews and . . . technical reports.” 85 Fed. Reg. at 78,198. Through these

studies, “DOE has determined that the transport of natural gas by marine vessel

normally does not pose the potential for significant environmental impacts.” Id.




1
  The DOE/FE has repeatedly reaffirmed the continued applicability of the guide-
lines and has consistently held that they apply equally to export applications (though
written to apply to imports). Yukon Pacific, Order No. 350; Phillips Alaska, Order
No. 1473; ConocoPhillips Alaska, Order No. 2500; GR0013 [JA167] (Sabine Pass,
Order No. 2961).

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DOE therefore amended Categorical Exclusion B5.7 effective January 2021 to

address “[a]pprovals or disapprovals of new authorizations or amendments of

existing authorizations to export natural gas under section 3 of the Natural Gas Act

and any associated transportation of natural gas by marine vessel.” Id. at 78,205; 10

C.F.R. Pt. 1021, Subpt. D., App. B., B5.7.

      DOE’s 2021 modifications facially narrowed the longstanding Categorical

Exclusion B5.7. It formerly applied more broadly to all “[i]mport or export natural

gas, with operational changes.” 10 C.F.R. Pt. 1021, Subpt. D., App. B, B5.7 (2012).

When amending B5.7, DOE recognized that “NEPA do[es] not include effects that

the agency has no authority to prevent. DOE’s discretionary authority under Section

3 of the NGA is limited to the authorization of exports of natural gas to non-FTA

countries.   Therefore, DOE need not review potential environmental impacts

associated with the construction or operation of natural gas export facilities because

DOE lacks authority to approve the construction or operation of those facilities.” 85

Fed. Reg. at 78,198/1. Such impacts lie beyond DOE’s NEPA obligations de jure,

regardless of any categorical exclusion. Id.

      B.     FERC and DOE granted Golden Pass’s initial LNG authorizations
             over Sierra Club’s objections, without appeal.

      In December 2016, FERC authorized Golden Pass to construct and operate

facilities in Texas for the export of LNG. GR0056 [JA239]. FERC’s authorization

of Golden Pass’s proposed export facilities under Section 3(e) followed a mandatory


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NEPA pre-filing review process. As lead agency for the review under 15 U.S.C.

§ 717n(b), FERC prepared a final environmental impact statement (“FEIS”).2 DOE,

the U.S. Environmental Protection Agency, the U.S. Army Corps of Engineers, the

U.S. Department of Transportation, and the U.S. Coast Guard participated as

cooperating agencies in preparing the FEIS.

      To complete the FEIS, FERC issued drafts, held public meetings, and solicited

comments. Sierra Club itself intervened in the FERC proceeding and protested the

proposed LNG export facilities. The FEIS ultimately concluded that if Golden Pass

constructed and operated the proposed facilities in accordance with applicable laws

and regulations, adverse environmental impacts would be reduced to less-than-

significant levels. The FEIS recommended adopting 83 Environmental Conditions,

which FERC incorporated into the December 16, 2016 Order approving the

proposed facilities. Sierra Club did not file a request for rehearing and did not

appeal. Golden Pass did not challenge any condition.

      In April 2017, DOE issued its import/export Order No. 3978. GR0058

[JA244]. That order authorized Golden Pass to export 808 billion cubic feet (“Bcf”)

per year of domestically produced natural gas from the proposed export terminal




2
 The lead agency has primary responsibility for preparation of the required NEPA
documents and may request that other agencies having jurisdiction by law or special
expertise serve as cooperating agencies. See 40 C.F.R. §§ 1501.5, 1501.6 (2022).

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facilities approved in the FERC Order, including to non-FTA countries. Id. at 173

[JA326]. Order No. 3978 further granted Golden Pass authority to (1) engage in

natural gas purchases and LNG sales for export and (2) act as agent for third parties.3

Id. DOE conditioned Golden Pass’s LNG export authorization on, among other

things, a requirement that Golden Pass “ensure compliance with all terms and

conditions established by FERC in the EIS, including the 83 conditions adopted in

the FERC Order.” Id. at 174 [JA327].

      In May 2020, Golden Pass sought permission from FERC to increase the listed

capacity of the proposed Sabine Pass facility. See GR0141 at 3 [JA006]. FERC

issued a notice and awaited public comment. Nobody—including Sierra Club—

opposed the application in the time allowed. Id. at 29 [JA032]. As before, FERC

evaluated the environmental impact of the proposal—this time by preparing an

environmental assessment, or EA. FERC once again determined that the Sabine

Pass facility would not significantly affect the quality of the human environment.

Id. at 31 [JA035].     FERC approved the expansion subject to four additional

conditions recommended by the EA. Id.




3
 In September 2012, the DOE/FE had also granted Golden Pass authorization under
Section 3 of the NGA for long-term, multi-contract authorization to export domesti-
cally produced LNG to FTA countries. GR0017 [JA174].

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      C.    Sierra Club remained silent while DOE evaluated Golden Pass’s
            application for non-additive, non-FTA export authorization.

      In August 2020, Golden Pass applied to DOE to increase non-FTA export

volume from 808 Bcf to 937 Bcf. Id. at 1 [JA004]. This proposal affected the

markets where Golden Pass could directly send the LNG—not whether Golden Pass

could export the full capacity of the expanded Sabine Pass facility—because DOE

had previously authorized an identical increase in export volumes to FTA countries.

See id. at 3 [JA006]. Later, DOE made two determinations to apply Categorical

Exclusion B5.7 to Golden Pass’s applications. GR0116 [JA382]; GR0118 [JA384].

Just as with the FERC application, nobody, including Sierra Club, voiced opposition

to the export application within the time allowed by DOE’s public notice. GR0141

at 5 [JA008]. DOE concluded that granting the increase was not “inconsistent with

the public interest.” Id. DOE cited Categorical Exclusion B5.7 and the studies that

underlie it. Id. at 22 [JA025]. DOE then granted the application in Order No. 3978-

E. Id. at 53–56 [JA056–59].

      After DOE granted Golden Pass’s unopposed export-authorization request,

Sierra Club requested rehearing. GR0147 [JA397]. Sierra Club made four main

arguments in its request.     First, according to Sierra Club, DOE should have

considered the gross impact of the increased non-FTA export authorization on

domestic emissions—i.e., the “upstream effects” of the exports. Id. 3–4, 5–7, 15–

16 [JA399-400, JA401-03, JA411-12]. Second, Sierra Club argued that DOE could


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and should have estimated the global environmental impact of the increased non-

FTA export authorization—i.e., the “downstream effects” on climate change. Id. 4–

5, 7–10, 15–16 [JA399–00, JA403–06, JA411-12]. Third, Sierra Club asserted that

the related greenhouse gas studies relied on by DOE regarding such emissions were

flawed. Id. 10–11; 16–19 [JA406-07; JA412-15]. And fourth, Sierra Club disagreed

with DOE’s use of the Russo-Ukrainian War as an example of the global need for

U.S.-produced LNG. Id. 11–14 [JA407-10]. DOE had addressed and rejected the

substance of the first three arguments when it issued its original export authorization

to Golden Pass in 2017. GR0058 at 88–89, 92–94, 99–100, 102–35, 145–61 [JA263-

63, JA267-69, JA270-71, JA273-35].

      Golden Pass opposed Sierra Club’s rehearing request. GR0170 [JA416].

Golden Pass explained that DOE had neither the authority nor the obligation under

the NGA to consider upstream or downstream environmental effects. Id. 7–15, 20–

25 [JA423-31, JA436-41]. DOE properly confirmed the limits of its authority when

it modified Categorical Exclusion B5.7, effective January 2021. Id. 14–15, 24–25

[JA430-31, JA440-41] (citing 85 Fed. Reg. 78,198); see, supra, Part A. DOE should

have applied Categorical Exclusion B5.7 in the instant case. See GR0170 at 20–23

[JA436-39]. Golden Pass showed that nothing in Sierra Club’s arguments overcame

the statutory presumption that increased non-FTA exports are within the public

interest. Id. 15–20 [JA431-36]. Indeed, DOE would have committed legal error by



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reconsidering Golden Pass’s authorization on the grounds Sierra Club asserted. Id.

at 7 [JA423]. Golden Pass also noted that Sierra Club’s request was procedurally

improper because Sierra Club waited until after DOE issued the order to present any

of its arguments opposing Golden Pass’s increased-non-FTA-export-authorization

request. Id. 6–7 [JA422-23].

      DOE denied Sierra Club’s rehearing request because Sierra Club waited until

rehearing to present its objections. Order No. 3978-F at 10 [JA074]. Sierra Club

then petitioned this Court for review.

                         SUMMARY OF ARGUMENT

      Whether for lack of standing or on the merits, this Court should deny in full

Sierra Club’s petition. There should be no remand to DOE—even if DOE erred by

denying Sierra Club’s rehearing request on procedural grounds. DOE had no

statutory authority to deny Golden Pass’s export authorization on the grounds for

which Sierra Club sought rehearing. It would have been error for DOE to reconsider

Golden Pass’s authorization on the grounds asserted by Sierra Club.

      DOE’s authority to grant or deny a non-FTA export authorization depends on

the factors that Congress empowered DOE to evaluate when determining what

would “not be consistent with the public interest” under NGA Section 3(a). DOE

appropriately considers economic or energy security factors under this public

interest determination but cannot lawfully consider Sierra Club’s alleged



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environmental impacts upstream or downstream from the actual export process that

is subject to DOE jurisdiction. The narrow environmental aspect of DOE’s review

falls under NEPA and is limited to actual export of LNG to non-FTA countries.

DOE adequately evaluated (1) any NGA public-interest factors, and (2) any NEPA

environmental impacts it had authority to consider. Indeed, particularly once DOE

found the legally relevant factors under Section 3(a) satisfied, it would have

exceeded DOE’s authority under the NGA to reconsider Golden Pass’s authorization

on the grounds Sierra Club advanced.          Further, the NEPA analysis actually

conducted by DOE was superfluous in light of DOE’s promulgated rule, Categorical

Exclusion B5.7, which DOE should have followed.

      After notice-and-comment rulemaking, DOE enshrined its interpretation of its

regulatory authority under NGA Section 3(a) and its environmental obligations

under NEPA in a regulation recognizing that there is “no information to indicate that

natural gas export authorizations pose the potential for significant environmental

impacts” within DOE’s authority. NEPA Rule, 85 Fed. Reg. 78201–02. As a result

of this determination, DOE Categorical Exclusion B5.7 eliminates the need for an

EA or EIS under NEPA when approving LNG exports absent extraordinary

circumstances.   10 C.F.R. Part 1021, Subpart D, App. B5.7.            By discussing

information beyond Categorical Exclusion B5.7, DOE actually inappropriately

conducted more environmental analysis than its regulations required and in



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contravention of NEPA.         Because Sierra Club’s criticisms of the DOE’s

environmental review lie beyond DOE’s jurisdiction and are contrary to Categorical

Exclusion B5.7, its protests are irrelevant.     DOE would have erred if it had

reconsidered Golden Pass’s application on grounds beyond Categorical Exclusion

B5.7 and DOE’s statutory authority. At most, Sierra Club complains of harmless

errors regarding an exercise that did not need to be conducted in the first place.

      Executive Order 14,008 does not change this analysis. By its own terms, the

E.O. did not affect “the authority granted by law to an executive department or

agency.” See Executive Order on Tackling the Climate Crisis at Home and Abroad,

E.O. 14,008 § 208. Because the E.O. cannot (and expressly did not) expand DOE’s

jurisdiction to consider environmental effects, the E.O. does not make such effects

“an important aspect of the problem” requiring consideration, as Sierra Club alleges.

Moreover, the E.O. does not give Sierra Club “any right or benefit, substantive or

procedural, enforceable at law or in equity.”       See E.O. 14,008 § 301(c).        Its

implementation is a matter for the President and the executive branch, not the courts.

      The merits of Sierra Club’s arguments are ripe for decision, are case-

dispositive, and should be decided. There should be no remand, because DOE had

no authority or record to reconsider Golden Pass’s authorization on the grounds

Sierra Club asserted. DOE must reach the same result if the case were remanded.

The petition should be denied in full.



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                             STANDARD OF REVIEW

      This Court reviews DOE’s denial of Sierra Club’s rehearing request for abuse

of discretion. Sierra Club v. U.S. Dep’t of Energy, 857 F.3d 189, 205 (D.C. Cir.

2017); see also N. Baja Pipeline, LLC v. FERC, 483 F.3d 819, 821 (D.C. Cir. 2007).

With deference, the Court considers whether the agency’s conclusions are

“reasonable and reasonably explained.”           N. Baja Pipeline, 483 F.3d at 821.

Nevertheless, “a reviewing court will uphold an agency action resting on several

independent grounds if any of those grounds validly supports the result.” Pierce v.

SEC, 786 F.3d 1027, 1034 (D.C. Cir. 2015) (citation omitted). Thus, “if the result

in a case is obvious, based on the record before the court and the rationale offered

by the agency, ‘the best course is for the reviewing court to simply apply the obvious

result.’” Id. (quoting Am. Fed’n of Gov’t Employees v. FLRA, 778 F.2d 850, 862

n.19, 250 U.S. App. D.C. 229 (D.C. Cir. 1985)); see also Merrick B. Garland,

Deregulation and Judicial Review, 98 Harv. L. Rev. 505, 570–71 (1985) (vacating

and remanding is not a logical response where there is only one conceivable

outcome). The Court need “not agree with every ground upon which [the agency]

has justified its decision.” Id. at 1035.

      When reviewing the agency’s interpretation of a statute, the Court first asks

whether the statutory language “unambiguously addresses the matter at issue.”

Colo. Interstate Gas Co. v. FERC., 599 F.3d 698, 701 (D.C. Cir. 2010) (quoting



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Ameren Servs. Co. v. FERC, 330 F.3d 494, 498 (D.C. Cir. 2003)). If so, the language

of the statute simply controls. Id. If not, then the Court defers to the reasonable

interpretation of the agency. Id.

                                    ARGUMENT

      Golden Pass agrees with DOE that this Court lacks jurisdiction. Sierra Club’s

request for rehearing was also appropriately denied on procedural grounds. If,

however, the Court disagrees with DOE’s arguments, there should be no remand.

See Pierce, 786 F.3d at 1034. The Court can and should address the merits.

      DOE lacks authority under the NGA to deny export applications based on the

upstream, downstream, and cumulative greenhouse gas emissions that Sierra Club

complains were inadequately assessed. If anything, DOE erred by even analyzing

those effects under NEPA, as well. It would have been error for DOE to reconsider

Golden Pass’s application on the grounds Sierra Club asserted. The Court should

deny the petition in full and not remand.

I.    DOE lacks authority to deny non-FTA export applications based on up-
      stream and downstream greenhouse gas emissions.

      Sierra Club argues that upstream and downstream greenhouse gas emissions

not resulting from the exportation process are “an important aspect of the problem”

that DOE should consider under State Farm. Pet. Br. 55–56 (citing Motor Vehicle

Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)). Sierra

Club suggests that DOE thus erred in approving Golden Pass’s application and


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should be “required to quantify domestic increases in greenhouse gas emissions, and

to discuss the impact of continued approval of LNG exports on the United States’

commitments to reduce domestic emissions.” Id. That is incorrect. “To the

contrary,” as Golden Pass established in its Answer to Sierra Club’s rehearing

petition below, “reconsideration of the Order on account of the environmental effects

that Sierra Club asserts would constitute legal error.” GR0170 at 7 [JA423].

      Under Section 3(a) of the NGA, DOE “shall” authorize natural gas exports to

non-FTA countries “unless . . . it finds that the proposed exportation . . . will not be

consistent with the public interest.” 15 U.S.C. § 717b(a). In a notice-and-comment

rulemaking, DOE itself interpreted its statutory authority as precluding DOE’s

consideration of upstream and downstream environmental effects when examining

whether a terminal’s LNG exports may be sold to non-FTA countries. NEPA Rule,

85 F.R. at 78,198. Executive Order 14,008 does not change that. The Court should

reject as a matter of law—and without remand—Sierra Club’s contention that

DOE’s public interest analysis failed to consider an important aspect of the problem.

      A.     The “public interest” in non-additive export authorizations
             concerns the economy and the LNG markets, not the environment.

      An implied premise of Sierra Club’s petition is that DOE is empowered to

weigh indirect upstream, downstream, and cumulative greenhouse gas emissions

when analyzing whether non-FTA export applications are “not consistent” with “the

public interest.” See 15 U.S.C. § 717b(a). But DOE does not have that authority.


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“It is axiomatic” that an agency’s power “is limited to the authority delegated by

Congress.” See Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 208 (1988). The

NGA contains no definition of the “public interest.” Nevertheless, the NGA’s text,

structure, and purpose and DOE’s own regulatorily enacted interpretation confirm

that DOE has no authority to consider the non-additive environmental effects of

export authorizations to non-FTA countries.

      First, the NGA’s “principal purpose” is the “development of plentiful supplies

of . . . natural gas” for combustion to produce energy. NAACP v. Fed. Power

Comm’n, 425 U.S. 662, 669–80 (1976). Consistent with its principal purpose, the

NGA’s text imposes a Congressional “presumption” in favor of “proposed

exportation” of natural gas. Sierra Club v. FERC, 867 F.3d 1357 (D.C. Cir. 2017)

(“Freeport II”). DOE “shall” authorize exports to non-FTA nations “unless . . . it

finds that the proposed exportation . . . will not be consistent with the public

interest.” 15 U.S.C. § 717b(a) (emphasis added). The statute thus starts with a heavy

thumb on the scale in favor of export of natural gas—which Congress fully knows

and contemplates is intended to be combusted for energy or feeder stock for other

products.

      Moreover, after first enactment, Congress repeatedly amended the text of the

NGA. These amendments further Congress’s policy to import and export plentiful

quantities of natural gas. Congress constrained DOE’s discretion to determine



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whether imports or exports are not consistent with the public interest. Under NGA

Section 3(e), FERC now “shall have the exclusive authority to approve or deny an

application for the siting, construction, expansion, or operation of an LNG

terminal.” 15 U.S.C. § 717b(e)(1) (emphasis added). Section 201 of the Energy

Policy Act of 1992 amended NGA § 3(c) to require that applications to authorize the

import of natural gas be “deemed to be consistent with the public interest, and . . .

granted without modification or delay.” See 15 U.S.C. § 717b(c). NGA § 3(c) then

requires that “exportation of natural gas to a nation with which there is in effect a

free trade agreement requiring national treatment for trade in natural gas, shall be

deemed to be consistent with the public interest.” 15 U.S.C. § 717b(c) (emphases

added). And DOE must grant FTA-export applications “without modification or

delay.” 15 U.S.C. § 717b(c). That leaves DOE with only a narrow scope of

remaining authority over non-FTA export authorizations.

      Second, the NGA provides no textual indication that DOE can allow

environmental considerations to override the statute’s “primary purpose” when

determining what would not be consistent with the public interest. And reading that

authority into the sliver of discretion that DOE retains over non-FTA export

authorizations makes no sense. DOE correctly explains that these authorizations are

granted on a “non-additive” basis. Gov. Br. 7. This “mean[s] that the volume an

exporter may export under its non-FTA authorization is not in addition to the amount



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it may export under its FTA authorization.” Id. “The Orders do not increase the

total volume of LNG the Companies may export, but only increase the number of

countries to which exports are authorized.” Opp’n at 23. Congress has thus by

statute already made the policy decision to authorize exports of LNG abroad—

whatever the volumes—and thereby to accept their environmental impacts, whatever

they may be.

      To be sure, “public interest” is a malleable term. But Congress “does not alter

the fundamental details of a regulatory scheme in vague terms or ancillary

provisions—it does not, one might say, hide elephants in mouseholes.” Whitman v.

Am. Trucking Assocs., 531 U.S. 457, 468 (2001). DOE’s discretion to determine

what is “not” in the “public interest” cannot be stretched to allow consideration of

environmental effects of non-additive quantities of LNG that Congress has already

authorized for export by statute.

      Third, interpretative canons of statutory construction reinforce that DOE’s

authority must be limited. Based on “the principle of constitutional avoidance,” see

Nw. Austin Mun. Util. Dist. No. 1 v. Holder, 557 U.S. 193, 206 (2009), Section 3(a)

should be construed in a manner that avoids the nondelegation problem.4 And a




4
  See F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 536 (2009) (“Congress
must ‘lay down by legislative act an intelligible principle,’ and the agency must fol-
low it.” (quoting Mistretta v. United States, 488 U.S. 361, 374 (1989))).

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nondelegation problem arises if DOE is allowed to offset Congress’s primary

purpose for the NGA with no intelligible principle for instead prioritizing

environmental effects. There is also the presumption against the extraterritorial

application of federal law. Morrison v. Nat’l Austl. Bank, 561 U.S. 247, 255 (2010).

U.S. statutes do not apply in foreign territory unless Congress “clearly expressed”

this intention. Id. That is precisely what Sierra Club seeks. It effectively asks DOE

to consider restricting international use of U.S. LNG as incompatible with global

climate goals by refusing authorization. And federal courts “expect Congress to

speak clearly” if it wishes to assign to an executive agency a decision “of vast

economic and political significance.” West Virginia v. EPA, 142 S. Ct. 2587, 2605

(2022). Allowing DOE to wield the expansive power Sierra Club implies—moving

well beyond largely economic and energy security considerations to potentially deny

non-additive exports because of upstream, downstream, or cumulative worldwide

environmental effects—would do exactly that.

      Fourth, even if one assumes that DOE has some discretion to consider certain

environmental effects (such as from the marine transport of gas), that authority is

limited. It cannot be stretched beyond DOE’s jurisdiction to the upstream and

downstream emissions that Sierra Club asserts. DOE has confirmed this in notice-

and-comment regulation. 10 C.F.R. Part 1021, Subpart D, App. B5.7; see also

NEPA Rule, 85 Fed. Reg. 78198 (Dec. 4, 2020). When modifying Categorical



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Exclusion B5.7 in its regulations, DOE explained that its assessment of

environmental impacts under NEPA “is properly focused on potential environmental

impacts resulting from the exercise of its NGA section 3 authority.” 85 Fed. Reg. at

78198. And “[t]he only decision for which DOE has authority is with respect to the

export of the commodity itself.” Id. at 78199 (emphases added). To the extent there

is any ambiguity in the governing statutes—and there is not—courts should defer to

DOE’s regulatorily enacted interpretation of its own authority. Chevron, U.S.A., Inc.

v. Nat’l res. Def. Council, Inc., 467 U.S. 837, 843–44 (1984). And, of course, it is

“axiomatic . . . that an agency is bound by its own regulations”—DOE should have

relied on Categorical Exclusion B5.7. Nat’l Env’t Dev. Assoc’s Clean Air Project v.

EPA, 752 F.3d 999, 1009 (D.C. Cir. 2014) (quoting Panhandle E. Pipe Line Co. v.

FERC, 613 F.2d 1120, 1135 (D.C. Cir. 1979)).           Upstream, downstream, and

cumulative environmental effects are beyond DOE’s authority under Section 3(a).

      B.     DOE did not fail to consider any legally relevant aspect of the
             problem.

      Sierra Club’s contention that DOE failed to consider “an important aspect of

the problem” is based on DOE’s alleged failure to consider the “United States’

commitments to reduce domestic emissions” of greenhouse gases. Pet. Br. 55. It

says, “The indirect domestic emissions associated with the particular exports

authorized here are themselves significant,” and “the cumulative problem is

tremendous.” Id. at 56–57. This not only fails to cite an error by DOE, but DOE


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would have committed legal error by reconsidering Golden Pass’s authorization on

such factors.

      As just explained, even DOE concedes it has no authority to consider any

environmental effects beyond those narrowly occurring within the scope of DOE’s

Section 3(a) jurisdiction. To start, FERC “shall have the exclusive authority to

approve or deny an application for the siting, construction, expansion, or operation

of an LNG terminal.” 15 U.S.C. § 717b(e)(1) (emphasis added). The NGA itself

facially halts DOE’s authority to look upstream. Thereafter, DOE may only examine

“the potential environmental impacts starting at the point of delivery to the export

vessel, and extending to the territorial waters of the receiving country.” 85 Fed. Reg.

78199–200. Thus, Sierra Club’s further demand that DOE review the purported

indirect and cumulative effects from downstream LNG use and combustion—the

Congressional purpose for the Natural Gas Act—are likewise beyond this scope.

There is no limiting principle for this agency departure, into an area of vast economic

and political significance, based on non-additive extraterritorial uses of the gas.

      By the same logic applied by the Supreme Court in Public Citizen regarding

NEPA, an agency cannot be said to have ignored “an important aspect of the

problem” under State Farm if that problem is beyond the agency’s authority. See

Pub. Citizen, 541 U.S. at 767–69. Nor can the federal courts require (at Sierra Club’s

request) that DOE quantify greenhouse gas emissions, discuss them, or explain their



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role in federal climate policy unless Congress required that. See Vt. Yankee Nuclear

Power Corp. v. Nat. Res. Def. Council, Inc., 435 U.S. 519, 546 (1978) (barring courts

from establishing “extra procedural devices” for agencies).

      Presidential Executive Order 14,008 does not change the analysis. To the

extent the President has called on executive agencies to consider upstream or

downstream greenhouse gas emissions, when they can, this is an issue internal to the

Executive Branch. The E.O. expressly states that it does not affect “the authority

granted by law to an executive department or agency.” E.O. 14,008 § 301(a)(1).

Nor does the E.O. empower Sierra Club to invoke the courts to enforce the

President’s desire for DOE to consider environmental effects within the limits of

DOE’s statutory authority. By its own terms, Executive Order 14,008 “is not

intended to, and does not, create any right or benefit, substantive or procedural,

enforceable at law or in equity by any party against the United States, its

departments, agencies, or entities, its officers, employees, or agents, or any other

person.” E.O. 14,008 § 301(c). Thus, it grants Sierra Club no rights that the courts

can—consistent with separation of powers—require DOE to address on remand. In

fact, the E.O. does not even mention exports of any kind, and its only directive about

natural gas goes to the Secretary of the Interior. See E.O. 14,008 § 208 (Jan. 27,

2021).




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      Sierra Club’s purported demand that DOE address its objections about the

Russo-Ukrainian War is a contrived makeweight. It fails to manufacture a changed

circumstance that might establish DOE’s “public interest” finding was inadequate.

That war is merely one “example” of the global instabilities that DOE invoked as

justifying plentiful export of U.S. LNG worldwide. GR0141 at 39 [JA042]. And

export is the policy that Congress presumes should occur through the NGA anyway.

DOE’s decision that export was not inconsistent with the public interest in no way

depended on Russia’s invasion of Ukraine. Id. 39–40 [JA042-43]. At worst, any

disregard of this issue by DOE was a completely harmless error.

      In sum, Sierra Club acknowledges that “nothing prohibits [DOE] from

approving LNG exports even when those exports would conflict with or complicate

federal climate policy.” Pet. Br. 56. But Sierra Club is mistaken that NGA Section

3(a) conversely allows DOE to consider—and thereby conceivably deny—a non-

FTA export authorization on such grounds. DOE has no such authority. Sierra Club

doesn’t just fail to identify a legally relevant, “important aspect of the problem” that

DOE overlooked. On the record below, DOE would have committed legal error by

reconsidering authorization based on Sierra Club’s concerns. Here, it is the “best

course . . . for the reviewing court to simply apply the obvious result.” See Pierce,

786 F.3d at 1034. The petition should be denied, in full, regardless of any purported

procedural errors by DOE.



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II.   Review of upstream and downstream emissions lies outside the scope of
      DOE’s NEPA obligations, and it would be arbitrary and capricious for
      DOE to deny an export application based on that review.

      Sierra Club further criticizes DOE’s NEPA analysis. It complains about

DOE’s alleged reliance “on documents prepared outside the NEPA process, and not

cited in a NEPA document, to meet its NEPA obligations.” Specifically, Sierra Club

claims that DOE’s “actual NEPA documents” “provide no discussion whatsoever of

the upstream and downstream impact of exports.” Pet. Br. 50. Those allegations are

wrong—for all the reasons already stated by DOE. Gov. Br. 53–58. But Sierra

Club’s contentions suffer from a more fundamental problem. An agency need not

consider environmental effects when it “has no regulatory authority.” Freeport I,

827 F.3d at 48 (quoting Pub. Citizen, 541 U.S. at 769). Because, as previously

established, upstream, downstream, and cumulative greenhouse gas emissions are

beyond DOE’s Section 3(a) authority, consideration of such impacts are also outside

DOE’s NEPA obligations. Id. Furthermore, DOE more than adequately addressed

the NEPA requirements by promulgating Categorical Exclusion B5.7.

      Here, too, no further proceedings should occur. Given that DOE has already

determined that Golden Pass’s export application is consistent with the public

interest based on the legally relevant factors, it would have been arbitrary and

capricious for DOE to reconsider the authorization once granted for purported NEPA

reviews that DOE is not obligated to undertake.



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      A.     DOE’s NEPA obligations, at most, regard the direct environmental
             effects during export of LNG to non-FTA countries.

      NEPA requires a federal agency to prepare an Environmental Impact

Statement, or EIS, when it undertakes “major Federal actions significantly affecting

the quality of the human environment.” Pub. Citizen, 541 U.S. at 757 (quoting 42

U.S.C. § 4332(2)(C)).     The Council of Environmental Quality, or CEQ, “has

promulgated regulations to guide federal agencies in determining what actions are

subject to that statutory requirement.” Id. If the proposed action would not “clearly

require the production of an EIS,” it may be the subject of a more limited

Environmental Analysis, or EA. Id. (citing 40 C.F.R. § 1501.4(a)). “If, pursuant to

the EA, an agency determines that an EIS is not required under applicable CEQ

regulations, it must issue a ‘finding of no significant impact,’ which briefly presents

the reasons why the proposed agency action will not have a significant impact on the

human environment.” Id. at 757–58. Alternatively, if the proposed action would

not “clearly require the production of an EIS,” it may be categorically excluded from

this requirement. Id. at 757 (citing 40 C.F.R. § 1501.4(a)).

      “In considering whether the effects of the proposed action are significant,

agencies shall analyze the potentially affected environment and degree of the effects

of the action.” 40 C.F.R. § 1501.3(b) (emphases added). Thus, the appropriate level

of NEPA analysis—categorical exclusion, EA, EIS, or nothing—depends on the




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specific “action” before an agency and the effects that are “caused by” agency action

and “reasonably foreseeable.” 40 C.F.R. § 1508.8(b).

      The causal standard here is analogous to “the ‘familiar doctrine of proximate

cause from tort law,’” Pub. Citizen, 541 U.S. at 767 (quoting Metro. Edison Co. v.

People Against Nuclear Energy, 460 U.S. 766, 774 (1983)). There must be a

“reasonably close causal relationship”—beyond mere “but-for” causation—

“between the environmental effect and the alleged cause.” Pub. Citizen, 541 U.S. at

767; Freeport I, 827 F.3d at 46. Thus “the underlying policies or legislative intent

[help] draw a manageable line between those causal changes that may make an actor

responsible for an effect and those that do not.” Pub. Citizen, 541 U.S. at 767.

      Ultimately, “NEPA’s core focus” is “improving agency decisionmaking.” Id.

at 769 n.2. Under the “rule of reason,” agencies must scope their NEPA analyses

“based on the usefulness of any new potential information to the decisionmaking

process.” Id. at 754. “Where an agency has no ability to prevent a certain effect due

to its limited statutory authority over the relevant actions, the agency cannot be

considered a legally relevant ‘cause’ of the effect.” Id. at 770. The agency “need

not consider” such effects under NEPA or the implementing CEQ regulations. Id.

As the D.C. Circuit has put it, “a decision over which the [agency] has no regulatory

authority” “breaks the NEPA causal chain and absolves the [agency] of

responsibility to include in its NEPA analysis considerations that it ‘could not act



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on’ and for which it cannot be ‘the legally relevant cause.’” Freeport I, 827 F.3d at

48 (quoting Pub. Citizen, 541 U.S. at 769). DOE’s NEPA obligations thus extend

only as far as its authority under the NGA.

      Guided by this properly limited scope of both DOE’s Section 3(a) authority

and its NEPA obligations, DOE regulations provide for categorical exclusions from

NEPA’s EIS requirements without an EA.              One applies to “[a]pprovals or

disapprovals of new authorizations or amendments of existing authorizations to

export natural gas under section 3 of the Natural Gas Act and any associated

transportation of natural gas by marine vessel.” 10 C.F.R. Part 1021, Subpart D,

App. B5.7. Based on “some 50 years of experience” and other data, DOE had “no

information to indicate that natural gas export authorizations pose the potential for

significant environmental impacts.” 85 Fed. Reg. at 78201–02. By applying

Categorical Exclusion B5.7, DOE would have complied with NEPA’s requirement

to take a “hard look” at the potential environmental effects of its orders granting non-

FTA export authorizations. It should have done so in the instant case.

      B.     Sierra Club’s alleged NEPA violations are irrelevant, and DOE
             should have applied Categorical Exclusion B5.7 on this record.

      Sierra Club criticizes DOE because “the actual NEPA documents—FERC’s

2020 Environmental Assessment for Golden Pass . . . provide[d] no discussion

whatsoever of the upstream or downstream impacts of exports.” Id. at 50. This,

however, is wrong.


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      DOE is correct that its process was sufficient to comply with NEPA’s

requirements. More fundamentally though, DOE had no obligation to consider

Sierra Club’s alleged broad climate impacts under NEPA.                 As previously

established, see, supra, Part I, DOE does not have authority to act on upstream,

downstream, or cumulative environmental impacts. Thus, whatever consideration

DOE gave to such matters was voluntary and superfluous. Akin to the Department

of Transportation in Public Citizen, DOE “simply lacks the power to act on whatever

information might be contained in” any further upstream, downstream, or

cumulative greenhouse gas analysis. See Pub. Citizen, 541 U.S. at 768. Therefore,

any purported error in its discussion was harmless. On this basis alone, the Court

should not remand for further review of these legally incorrect allegations.

      Moreover, on this record, it would be erroneous for DOE to now reconsider

and further delay Golden Pass’s application based on the alleged NEPA violations

that Sierra Club belatedly asserted. GR0141 at 22–23 [JA025-26]. An agency “is

limited to the authority delegated by Congress.” Bowen, 488 U.S. at 208. Having

weighed all legally relevant factors to determine whether Golden Pass’s non-FTA

export modification would not be consistent with the public interest, it would have

been arbitrary and capricious and erroneous for DOE to assent to Sierra Club’s

request for DOE to reconsider and further delay (let alone deny) that approval for

further “NEPA” analyses of effects that DOE has no authorization to act upon.



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      The lack of any rational basis for DOE to conduct further NEPA analysis on

remand is confirmed by DOE’s prior determinations that Golden Pass’s project falls

within a class of actions that can be excluded from project-specific NEPA analyses

by Categorical Exclusion B5.7. GR0116 [JA382]; GR0118 [JA384]. This exclusion

now concerns “[a]pprovals or disapprovals of new authorizations or amendments of

existing authorizations to export natural gas under section 3 of the Natural Gas Act

and any associated transportation of natural gas by marine vessel.” 10 C.F.R. Pt.

1021, Subpt. D., App. B., B5.7. Previously, the exclusion applied more broadly

(textually) to all “[i]mport or export natural gas, with operational changes.” 10

C.F.R. Pt. 1021, Subpt. D., App. B, B5.7 (2012).

      DOE has since revised Categorical Exclusion B5.7 “to focus exclusively on

the analysis of potential environmental impacts resulting from activities occurring at

or after the point of export.” NEPA Rule, 85 F.R. at 78197. The revision actually

narrowed the scope of environmental considerations that DOE considers legally

relevant. So now there is even less rational basis for denying that the Categorical

Exclusion B5.7 should apply to Golden Pass. Yet DOE previously determined that

proposed exports for the Golden Pass project (1) fit within the class of actions for

B5.7, (2) do not involve any “extraordinary circumstances,” and (3) have not been

segmented, thus providing for application of the Categorical Exclusion. GR0116

[JA382]; GR0118 [JA384].



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       Given its determination that Golden Pass’s requested exports fit within

Categorical Exclusion B5.7, DOE was bound to apply it. See Nat’l Env’t Dev.

Assoc., 752 F.3d at 1009 (“[An] agency is not free to ignore or violate its regulations

while they remain in effect.” (quoting U.S. Lines, Inc. v. Fed. Mar. Comm’n, 584

F.2d 519, 526 n.20 (D.C. Cir. 1978)). When it adopted B5.7, DOE laid out the

grounds for its conclusion that (1) it lacks authority to regulate upstream and

downstream environmental effects and (2) the “transport of natural gas by marine

vessel normally does not pose the potential for significant environmental effects.”

NEPA Rule, 85 F.R. at 78,198. Those grounds now bind DOE. Dep’t of Homeland

Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1907 (2020). DOE cannot

reverse course on B5.7 without critically assessing and adequately explaining the

reasons for doing so. See id. 1913–15. If DOE were to ignore B5.7 and deny Golden

Pass’s application here, it would depart from its own regulations and selectively

rescind B5.7 without reasoned decisionmaking. That is the definition of arbitrary

and capricious agency action. See id. 1915; Nat’l Env’t Dev. Assoc., 752 F.3d at

1009. The Court should not remand for further proceedings on a reconsideration

petition that DOE could not grant without erring. The petition should be denied

entirely.




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      C.     Sierra Club does not challenge Categorical Exclusion B5.7 on
             appeal. Nevertheless, the forfeited arguments that it presented to
             the agency lack merit.

      In its motion for rehearing before the agency, Sierra Club did halfheartedly

try to dispute the import of DOE’s Categorical Exclusion B5.7, and DOE’s

promulgation of it. If Sierra Club belatedly raises such arguments in its reply, this

Court should consider such arguments forfeited for not asserting the issue in its

opening. In any event, Sierra Club’s attacks on the categorical exception fail.

      First, Sierra Club argued that Categorical Exclusion B5.7 is unlawful because

DOE in some way “misunderstood” its own “authority and ability to foresee the

consequences of LNG exports.” GR0147 at 18 [JA414]. Sierra Club offered no

textual authority nor binding case law to support this. Instead, it cited a case about

FERC that is consistent with DOE’s position here. Id. (citing Freeport I, 827 F.3d

at 40–41, 46). Freeport I affirms that an agency need not evaluate the environmental

effects of activities outside its regulatory authority. 827 F.3d at 47 (holding that

FERC need not evaluate environmental effects of natural gas exports because that

activity is regulated solely by DOE). Categorical Exclusion B5.7 reflects that

principle. It is now DOE’s regulation, and it binds DOE. Nat’l Env’t Dev. Assoc’s

Clean Air Project, 752 F.3d at 1009 (“[A]n agency is bound by its own

regulations.”).




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      Second, Sierra Club offered no factual basis for its argument that Categorical

Exclusion B5.7 is inapplicable under 10 C.F.R. Part 1021, Subpart D, App. B(4).

GR0147 at 19 [JA415]. This regulation requires an individualized assessment of a

proposal with “the potential to cause significant impacts on environmentally

sensitive resources,” such as listed species. 10 C.F.R. Part 1021, Subpart D, App.

B(4) (emphasis added). Sierra Club invoked this regulation based on the EA’s

indication that the exports have “the potential to impact listed species.” GR0147 at

19 [JA415]. But Sierra Club did not allege, and the EA does not suggest, that the

proposed exports’ potential effect on listed species would be “significant.” See id.;

GR0110 at 9–12 [JA376-79]. The record proves that the regulation on which Sierra

Club relied is inapplicable.5

      Thus, even if Sierra Club tries to resurrect its forfeited arguments and dispute

the adequacy of Categorical Exclusion B5.7 in its Reply, those arguments would fail.

The Categorical Exclusion would have provided all the NEPA review that could be

required of DOE. DOE already found twice that Categorical Exclusion B5.7 applied

to Golden Pass’s application. GR0116 [JA382]; GR0118 [JA384]. DOE, therefore,

should have applied Categorical Exclusion B5.7 in the instant case. And DOE lacks




5
 Moreover, the potential effect on listed species is already being addressed by the
National Marine Fisheries Service. See GR0121 at ¶ 11 [JA389].

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the authority to reconsider its export authorizations based on upstream and

downstream greenhouse gas emissions as Sierra Club wishes.6

       Executive Order 14,008 also does not impact the appropriateness of DOE’s

NEPA analysis. As explained above, the E.O. expressly stated that it did not affect

“the authority granted by law to an executive department or agency.” E.O. 14,008

§ 301(a)(1). And the E.O. singled out only the Secretary of the Interior for specific

instructions related to natural gas. E.O. 14,008 § 208. The E.O. does not change

DOE’s authority (or obligation).

III.   Remand and vacatur would be inappropriate remedies for any minor
       defects the Court may find.

       If the Court concludes that DOE erred by its procedural response to Sierra

Club’s rehearing request, it should not remand. See Pierce, 786 F.3d at 1034. The

merits of Sierra Club’s petition are ripe for decision. The Court should reach those

merits, and not subject Golden Pass to the burden and expense of further DOE

proceedings and customer uncertainty regarding the non-FTA export authorization

that DOE would have erred by reconsidering.




6
  Some cases predating DOE’s interpretation of Section 3 incorrectly assume the
opposite. See, e.g., Freeport II, 867 F.3d at 1371. Freeport II, however, concerned
FERC’s authority—not DOE’s far more narrow authority. And such analyses are
now obsolete because the court did not have the benefit of DOE’s current regulations
interpreting Section 3 of the NGA.

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      In no event should this Court vacate DOE’s order in connection with any

remand. “The decision whether to vacate [an agency order] depends on ‘the

seriousness of the order’s deficiencies (and thus the extent of doubt whether the

agency chose correctly) and the disruptive consequences of an interim change that

may itself be changed.’” Allied-Signal, Inc. v. U.S. Nuclear Regul. Comm’n, 988

F.2d 146, 150–51 (D.C. Cir. 1993) (quoting Int’l Union, UMW v. FMSHA, 920 F.2d

960, 967 (D.C. Cir. 1990)). Here, those factors weigh strongly against vacatur.

      First, Sierra Club notably fails to allege that there will be any environmental

harm or impact without vacatur pending remand. (Indeed, Sierra Club lacks injury

and standing.) Even Sierra Club appears to recognize that DOE’s expanded export

authorization to non-FTA countries merely expands the markets where Golden Pass

can export directly. DOE’s authorization does not impact whether Golden Pass can

export increased quantities of LNG. Throughout its brief, Sierra Club strains to

imply that stopping Golden Pass’s authorization for non-FTA countries will stop the

export of LNG (and so its subsequent use and emission of greenhouse gas

downstream). That is not correct because, as DOE emphasizes in its brief, its Orders

approving exports to FTA and non-FTA countries are non-additive and only concern

the countries to which exports are permitted, not the volumes. Gov. Br. 23. Sierra

Club itself asserts that any incremental export increase to non-FTA countries is

unlikely “until 2026 or 2027.” Pet. Br. 58.



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      Second, vacating DOE’s non-FTA authorization would harm Golden Pass.

Vacatur of DOE’s non-FTA export authorization will not affect the quantity of LNG

that Golden Pass can export. But the Order does affect the scope of markets where

Golden Pass’s LNG can be directly sold and contracts established for a portion of its

LNG capacity. Vacatur would, therefore, disrupt Golden Pass’s current LNG sales

contracts and upset valuable business relationships.

      Given the broad, worldwide need for LNG—a highly valued commodity

providing efficient, reliable energy with far lower carbon emissions than the coal it

often replaces—Sierra Club nowhere disputes that both FTA and non-FTA countries

will demand and draw the full operational export capacity of the Golden Pass

terminal for the foreseeable future. Vacating the order on any remand would provide

no benefit to Sierra Club in terms of reducing LNG exports. It would disrupt Golden

Pass’s contracts and business relationships with customers, especially in non-FTA

nations. Cf. AT&T Servs., Inc. v. F.C.C., 467 841, 854–55 (D.C. Cir. 2021)

(acknowledging that vacating agency order would significantly disrupt services

provided to mobile devices under existing provider contracts).

      Third, Sierra Club does not establish that the alleged procedural errors justify

harm to Golden Pass. See AT&T Servs., 21 F.4th at 854–55 (“Here both factors favor

remand without vacatur.”). As detailed above, Sierra Club asserted no material

NEPA or other violations below. Thus, DOE would almost certainly reach the same



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conclusion again. See Fox Television Stations, Inc. v. F.C.C., 280 F.3d 1027, 1049

(D.C. Cir. 2002) (“[T]he probability that the Commission will be able to justify

retaining the NTSO Rule is sufficiently high that vacatur of the Rule is not

appropriate.”). As Sierra Club itself admits, it has repeatedly presented most of its

arguments to DOE in response to past applications, and DOE has time and again

rejected them. Pet. Br. 42–45. In fact, Sierra Club presented those arguments when

it objected to Golden Pass’s original non-FTA export authorization before DOE. Id.

Tellingly, Sierra Club did not then appeal.

        In short, DOE “chose correctly” in authorizing the increase in non-FTA export

capacity for Golden Pass, Allied-Signal, Inc., 988 F.2d at 150–51, even though it did

not rely upon Categorical Exclusion B5.7. Vacating DOE’s authorization at this

time would achieve no environmental benefit but would unnecessarily harm Golden

Pass.

                                  CONCLUSION

        If the Court were to conclude that Sierra Club has standing, the Court should

reach the merits and not remand for further administrative proceedings. It should

deny the petition and affirm the orders of the Department of Energy authorizing

increased exports of Golden Pass LNG to non-FTA countries.




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 June 8, 2023                             Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

1.    This brief complies with the type-volume limitation of Fed. R. App. P.
      32(a)(7)(B) because:

                  this brief contains 9,097 words, excluding the parts of the
                   brief exempted by Fed. R. App. P. 32(f).

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                   using Microsoft Office Word 2013 in 14-point Times New
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                                                   /s/ Jonathan D. Brightbill
                                                   JONATHAN D. BRIGHTBILL


                         CERTIFICATE OF SERVICE

      I hereby certify that on June 8, 2023, I caused the foregoing BRIEF to be

served on all counsel of record through the Court’s ECF filing system.


                                                   /s/ Jonathan D. Brightbill
                                                   JONATHAN D. BRIGHTBILL




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                                   APPENDIX A

15 U.S.C. § 717b:

      (a) Mandatory authorization order

      After six months from June 21, 1938, no person shall export any natural
      gas from the United States to a foreign country or import any natural
      gas from a foreign country without first having secured an order of the
      Commission authorizing it to do so. The Commission shall issue such
      order upon application, unless, after opportunity for hearing, it finds
      that the proposed exportation or importation will not be consistent with
      the public interest. The Commission may by its order grant such
      application, in whole or in part, with such modification and upon such
      terms and conditions as the Commission may find necessary or
      appropriate, and may from time to time, after opportunity for hearing,
      and for good cause shown, make such supplemental order in the
      premises as it may find necessary or appropriate.

      (b) Free trade agreements

      With respect to natural gas which is imported into the United States
      from a nation with which there is in effect a free trade agreement
      requiring national treatment for trade in natural gas, and with respect to
      liquefied natural gas--

            (1) the importation of such natural gas shall be treated as a “first
            sale” within the meaning of section 3301(21) of this title; and

            (2) the Commission shall not, on the basis of national origin, treat
            any such imported natural gas on an unjust, unreasonable, unduly
            discriminatory, or preferential basis.

      (c) Expedited application and approval process

      For purposes of subsection (a), the importation of the natural gas
      referred to in subsection (b), or the exportation of natural gas to a nation
      with which there is in effect a free trade agreement requiring national
      treatment for trade in natural gas, shall be deemed to be consistent with
      the public interest, and applications for such importation or exportation
      shall be granted without modification or delay.


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      (d) Construction with other laws

      Except as specifically provided in this chapter, nothing in this chapter
      affects the rights of States under--

            (1) the Coastal Zone Management Act of 1972 (16 U.S.C. 1451
            et seq.);

            (2) the Clean Air Act (42 U.S.C. 7401 et seq.); or

            (3) the Federal Water Pollution Control Act (33 U.S.C. 1251 et
            seq.).

      (e) LNG terminals

            (1) The Commission shall have the exclusive authority to
            approve or deny an application for the siting, construction,
            expansion, or operation of an LNG terminal. Except as
            specifically provided in this chapter, nothing in this chapter is
            intended to affect otherwise applicable law related to any Federal
            agency's authorities or responsibilities related to LNG terminals.

            (2) Upon the filing of any application to site, construct, expand,
            or operate an LNG terminal, the Commission shall--

            (A) set the matter for hearing;

            (B) give reasonable notice of the hearing to all interested persons,
            including the State commission of the State in which the LNG
            terminal is located and, if not the same, the Governor-appointed
            State agency described in section 717b-1 of this title;

            (C) decide the matter in accordance with this subsection; and

            (D) issue or deny the appropriate order accordingly.

            (3)

                   (A) Except as provided in subparagraph (B), the
                   Commission may approve an application described in
                   paragraph (2), in whole or part, with such modifications
                   and upon such terms and conditions as the Commission
                   find1 necessary or appropriate.


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                   (B) Before January 1, 2015, the Commission shall not--

                   (i) deny an application solely on the basis that the
                   applicant proposes to use the LNG terminal exclusively or
                   partially for gas that the applicant or an affiliate of the
                   applicant will supply to the facility; or

                   (ii) condition an order on--

                          (I) a requirement that the LNG terminal offer
                          service to customers other than the applicant, or any
                          affiliate of the applicant, securing the order;

                          (II) any regulation of the rates, charges, terms, or
                          conditions of service of the LNG terminal; or

                          (III) a requirement to file with the Commission
                          schedules or contracts related to the rates, charges,
                          terms, or conditions of service of the LNG terminal.

                   (C) Subparagraph (B) shall cease to have effect on January
                   1, 2030.

            (4) An order issued for an LNG terminal that also offers service
            to customers on an open access basis shall not result in
            subsidization of expansion capacity by existing customers,
            degradation of service to existing customers, or undue
            discrimination against existing customers as to their terms or
            conditions of service at the facility, as all of those terms are
            defined by the Commission.

      (f) Military installations

            (1) In this subsection, the term “military installation”--

                   (A) means a base, camp, post, range, station, yard, center,
                   or homeport facility for any ship or other activity under the
                   jurisdiction of the Department of Defense, including any
                   leased facility, that is located within a State, the District of
                   Columbia, or any territory of the United States; and




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                    (B) does not include any facility used primarily for civil
                    works, rivers and harbors projects, or flood control
                    projects, as determined by the Secretary of Defense.

            (2) The Commission shall enter into a memorandum of
            understanding with the Secretary of Defense for the purpose of
            ensuring that the Commission coordinate and consult2 with the
            Secretary of Defense on the siting, construction, expansion, or
            operation of liquefied natural gas facilities that may affect an
            active military installation.

            (3) The Commission shall obtain the concurrence of the
            Secretary of Defense before authorizing the siting, construction,
            expansion, or operation of liquefied natural gas facilities
            affecting the training or activities of an active military
            installation.

42 U.S.C. § 4332:

      The Congress authorizes and directs that, to the fullest extent possible:
      (1) the policies, regulations, and public laws of the United States shall
      be interpreted and administered in accordance with the policies set forth
      in this chapter, and (2) all agencies of the Federal Government shall--

      (A) utilize a systematic, interdisciplinary approach which will insure
      the integrated use of the natural and social sciences and the
      environmental design arts in planning and in decisionmaking which
      may have an impact on man's environment;

      (B) identify and develop methods and procedures, in consultation with
      the Council on Environmental Quality established by subchapter II of
      this chapter, which will insure that presently unquantified
      environmental amenities and values may be given appropriate
      consideration in decisionmaking along with economic and technical
      considerations;

      (C) include in every recommendation or report on proposals for
      legislation and other major Federal actions significantly affecting the
      quality of the human environment, a detailed statement by the
      responsible official on--

            (i) the environmental impact of the proposed action,

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            (ii) any adverse environmental effects which cannot be avoided
            should the proposal be implemented,

            (iii) alternatives to the proposed action,

            (iv) the relationship between local short-term uses of man's
            environment and the maintenance and enhancement of long-term
            productivity, and

            (v) any irreversible and irretrievable commitments of resources
            which would be involved in the proposed action should it be
            implemented.

            Prior to making any detailed statement, the responsible Federal
            official shall consult with and obtain the comments of any
            Federal agency which has jurisdiction by law or special expertise
            with respect to any environmental impact involved. Copies of
            such statement and the comments and views of the appropriate
            Federal, State, and local agencies, which are authorized to
            develop and enforce environmental standards, shall be made
            available to the President, the Council on Environmental Quality
            and to the public as provided by section 552 of Title 5, and shall
            accompany the proposal through the existing agency review
            processes;

      (D) Any detailed statement required under subparagraph (C) after
      January 1, 1970, for any major Federal action funded under a program
      of grants to States shall not be deemed to be legally insufficient solely
      by reason of having been prepared by a State agency or official, if:

            (i) the State agency or official has statewide jurisdiction and has
            the responsibility for such action,

            (ii) the responsible Federal official furnishes guidance and
            participates in such preparation,

            (iii) the responsible Federal official independently evaluates such
            statement prior to its approval and adoption, and

            (iv) after January 1, 1976, the responsible Federal official
            provides early notification to, and solicits the views of, any other
            State or any Federal land management entity of any action or any


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            alternative thereto which may have significant impacts upon such
            State or affected Federal land management entity and, if there is
            any disagreement on such impacts, prepares a written assessment
            of such impacts and views for incorporation into such detailed
            statement.

            The procedures in this subparagraph shall not relieve the Federal
            official of his responsibilities for the scope, objectivity, and
            content of the entire statement or of any other responsibility
            under this chapter; and further, this subparagraph does not affect
            the legal sufficiency of statements prepared by State agencies
            with less than statewide jurisdiction.1

      (E) study, develop, and describe appropriate alternatives to
      recommended courses of action in any proposal which involves
      unresolved conflicts concerning alternative uses of available resources;

      (F) recognize the worldwide and long-range character of environmental
      problems and, where consistent with the foreign policy of the United
      States, lend appropriate support to initiatives, resolutions, and programs
      designed to maximize international cooperation in anticipating and
      preventing a decline in the quality of mankind's world environment;

      (G) make available to States, counties, municipalities, institutions, and
      individuals, advice and information useful in restoring, maintaining,
      and enhancing the quality of the environment;

      (H) initiate and utilize ecological information in the planning and
      development of resource-oriented projects; and

      (I) assist the Council on Environmental Quality established by
      subchapter II of this chapter.




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